Case 3:14-cv-00290-DJH Document 90-1 Filed 04/30/20 Page 1 of 25 PageID #: 1497

                           UNITED STATES DISTRICT COURT
                           WESTERN DIVISION OF KENTUCKY
                                   AT LOUISVILLE


IN RE: AMAZON.COM, INC., FULFILLMENT                   Master File No. 3:14-md-2504
CENTER FAIR LABOR STANDARDS ACT                        MDL Docket No. 2504
(FLSA) AND WAGE AND HOUR LITIGATION
                                                       JUDGE:     HON. DAVID J. HALE

                                                       [Unopposed]
This Document Relates to:
Saldana v. Amazon.com, LLC,
Case No. 14-CV-00290-DJH                               MEMORANDUM OF POINTS AND
                                                       AUTHORITIES IN SUPPORT OF
                                                       MOTION FOR ORDER GRANTING
                                                       PRELIMINARY APPROVAL OF CLASS
                                                       ACTION SETTLEMENT

                                                       Date :
                                                       Time:
                                                       Judge:      Hon. David J. Hale
                                                       Crtrm:      106




       This motion is brought seeking preliminary approval of a pre-certification wage and hour

class action settlement in the sum of $11,132,134 by Plaintiff Khadijah Robertson, on behalf of

herself and an estimated 200,0001 other Class Members employed2 in California by Defendants

Amazon.com, LLC, and Amazon.com Services LLC (into which Golden State FC, LLC merged

effective January 1, 2019) (“Defendants” or “Amazon.com”), as non-exempt hourly paid warehouse

workers at Amazon.com warehouse facilities (fulfillment centers and sortation centers) (“Covered

Facilities”) any time during the period from the October 1, 2012 through the date preliminary

approval is granted (the “Class” or “Class Member(s)”).

       This proposed settlement represents the remainder and global resolution of this wage and

hour class action which originated in 2013 and is based upon alleged California Labor Code and

Industrial Wage Commission Order violations. This Court approved a previous settlement in this

case with defendant SMX LLC, a temporary staffing service company providing workers to

       1
           Declaration of Mark R. Thierman (“Thierman Decl.”), ¶ 65
       2
       For simplicity, “employed or providing services” will be referenced simply with
“employed.”
                                             1
Case 3:14-cv-00290-DJH Document 90-1 Filed 04/30/20 Page 2 of 25 PageID #: 1498


Amazon’s California fulfillment centers, in October 2016. See Dkt. 228 This settlement with the

remaining defendants represents a superior result for the class when compared to the prior

settlement, which required a claim form in order for temporary Amazon workers to obtain relief

under the terms of the SMX settlement. This settlement requires no claim form, and is direct-pay to

each of the approximately 200,000 class members, without the need to wait for the outcome of the

pending appeal on the security screening issues before the Court.

        In short, this settlement represents a laudable compromise between Defendants, who continue

to contend that the security screening procedure results in no compensable off-the-clock time being

spent (as this Court held upon granting summary judgment), and Plaintiff and the Class, who

contend on appeal that being subject to the direction and control of the employer results in

compensable time. This settlement, reached after more than six years of hard-fought appeals and

motion practice (including a United States Supreme Court appeal affecting the timeline of this

litigation), is an adequate, reasonable, and fair result to the class at this time.

I.      BACKGROUND

        A.      Plaintiff and Her Contentions

        During the Class Period, Plaintiff Khadijah Robertson was employed by Defendants as a

non-exempt, hourly paid warehouse employee at the Amazon.com Fulfillment Center Warehouse

located in San Bernardino, California.3 Ms. Robertson was employed with Defendants through

December 2013. Ms. Robertson’s rate of pay was $12 per hour. See Dkt. 66 (Defendants’ Answer

to Second Amended Complaint (the operative complaint), at ¶ 12).

        Plaintiff contends that Defendants violated California’s labor laws by their systemic and

uniform company practice of subjecting Class Members to mandatory security searches on their

premises after Class Members clocked out for meal periods and at the end of their shifts. Plaintiff

contends these mandatory individualized security searches resulted in up to 20-30 minutes, or more,

of unpaid compensable work each day, resulting in a daily underpayment for all time worked and

daily interruptions in employee meal and rest periods. See Dkt. 61., ¶ 1      Plaintiff further contends


        3
          The other three plaintiffs, David Saldana, Ladaisja Brewster, and Monica Carlin, were
subject to a prior settlement approved by this Court on October 31, 2016 (Dkt. 228), with
defendant employer SMX, which provided supplemental staffing services to Amazon. Only
plaintiff Robertson remains as a class representative, as employed by Golden State, FC, LLC,
                                                  2
Case 3:14-cv-00290-DJH Document 90-1 Filed 04/30/20 Page 3 of 25 PageID #: 1499


that these searches could be performed before employees clock out for lunch or before they clock out

at the end of their shifts. Id. Plaintiff also asserts that Defendants failed to provide correctly itemized

and accurate wage statements showing all hours actually caused or suffered to work, and failed to

pay all wages owed at separation to separated employees. Id.

        B.      Defendants and their Defenses

        Amazon has more than 50 Fulfillment Centers throughout the United States. See Defendants’

Answer to Second Amended Complaint - Dkt. 66, ¶¶ 15 and 17. Amazon employees pick and pull

merchandise at the Amazon warehouses for shipping to Amazon customers. Due to the nature of

these tasks and the access to merchandise, all persons, including employees, leaving Amazon

Fulfillment Centers are required to pass through security screening. Id. at ¶¶ 20-22. Defendants

contend that any time spent by employees passing through security screening does not require

compensation under controlling law. Id. at ¶ 22.

        Defendants deny the allegations of the class action lawsuit in their entirety, deny any liability

or wrongdoing of any kind associated with the claims alleged in this action, and further deny that, for

any purpose other than settling this action, this action is appropriate for class treatment. See Dkt. 33,

generally; Thierman Decl. ¶ 37. Defendants contend, among other things, that they have complied at

all times with all applicable California laws, and further contend that, if this matter were to be further

litigated, they would have strong defenses on the merits and as to class certification. Thierman Decl.

¶ 37.

II.     PROCEDURAL HISTORY

        On December 19, 2013, plaintiffs Saldana, Brewster, and Carlin filed a class action

complaint for damages, injunctive relief, and restitution entitled David C. Saldana, Ladaisja

Brewster, and Monica Carlin, on behalf of themselves and all others similarly situated v.

Amazon.com, LLC, a Delaware Limited Liability Corporation, SMX, LLC, an Illinois Limited

Liability Company; Staff Management, LLC, an Illinois Limited Liability Company, and Does 1

through 10, inclusive. The complaint was filed in the Superior Court of California for the County of

Los Angeles and assigned Case No. BC531096 (the “Lawsuit”). These plaintiffs performed work at

the Amazon fulfillment centers but were paid by SMX (“SMX plaintiffs”).


and the Amazon defendants.
                                                    3
Case 3:14-cv-00290-DJH Document 90-1 Filed 04/30/20 Page 4 of 25 PageID #: 1500


        Before the Lawsuit was filed, on April 12, 2013, the Ninth Circuit Court of Appeals issued a

decision in Busk v. Integrity Staffing Solutions, Inc., 713 F.3d 525 (9th Cir. 2013), holding that

employees may bring an overtime claim under the Fair Labor Standards Act (“FLSA”) for time spent

undergoing a security screening at the end of each shift. Following the Ninth Circuit’s decision,

numerous cases were filed across the country under the FLSA, and some included state law claims as

well. These cases were transferred/consolidated and sent to the above-captioned District Court of

Kentucky pursuant to the Judicial Panel on Multidistrict Litigation.

        On January 28, 2014, SMX plaintiffs filed a First Amended Class Action Complaint for

Damages, Injunctive Relief, and Restitution. On February 21, 2014, Plaintiffs added Golden State

FC, LLC as an additional defendant.

        On February 28, 2014, Defendants Amazon.com, LLC and Golden State FC, LLC removed

the matter to the United States District Court for the Central District of California, case number 2:14-

cv-01545, assigned to Judge Manuel Real.

        On March 13, 2014, the Honorable Judge John G. Heyburn II of the Western District of

Kentucky stayed the Multidistrict Litigation coordinated cases, In re: Amazon.com, Inc., Fulfillment

Center Fair Labor Standards Act (FLSA) and Wage and Hour Litigation, pending the outcome of

the U.S. Supreme Court’s decision in the appeal of the Ninth Circuit’s decision in Busk v. Integrity

Staffing Solutions, Inc. The appeal would determine the viability of claims brought pursuant to the

FLSA.

        On April 3, 2014, the Lawsuit was transferred to the Western District of Kentucky and

assigned to the Honorable Judge John G. Heyburn, II pursuant to Rule 7.1 of the Rules of Procedure

of the United States Judicial Panel on Multidistrict Litigation.

        On June 12, 2014, Plaintiffs filed a Second Amended Class Action Complaint, adding

Khadijah Robertson as a Plaintiff and proposed class representative in order to perfect the claim

against Golden State, FC, LLC. See Doc. 61 (the “Operative Complaint”). Ms. Robertson performed

services at the Amazon fulfillment center while being paid by Golden State, FC, LLC, which was

then a subsidiary of Amazon.

        The Operative Complaint asserts causes of action against Defendants for: (1) Failure to pay

Hourly Wages, (California Lab. Code §§ 200-204, 1194; IWC Order 2-2001); (2) Failure to Pay

                                                   4
Case 3:14-cv-00290-DJH Document 90-1 Filed 04/30/20 Page 5 of 25 PageID #: 1501


Overtime Wages (California Lab. Code §§ 200-204, 1194; IWC Order 2-2001); (3) Failure to

Provide Meal Periods or Compensation in Lieu Thereof (California Lab. Code § 226.7, IWC Order

5, Cal. Code Regs., Title 8 § 11050); (4) Failure to Provide Rest Periods or Compensation in Lieu

Thereof (California Lab. Code §§ 226.7, 512; IWC Order 5, Cal. Code Regs., Title 8 § 11050; (5)

Failure to Timely Pay Wages of Terminated or Resigned Employees (California Lab. Code, §§ 201-

203); (6) Knowing and Intentional Failure to Comply with Itemized Employee Wage Statement

Provisions (California Lab. Code, § 226); (7) Violations of the Unfair Competition Law; (California

Business & Professions Code §§17200 – 17208; and (8) Violations of the Private Attorneys General

Act of 2004 (“PAGA”) (California Lab. Code § 2698 et seq.). All claims in the Operative

Complaint arise under California law, rather than under FLSA. Id.

       On December 9, 2014, the United States Supreme Court issued its decision in Busk, holding

that time spent undergoing security is not compensable under the FLSA. The Busk decision did not

address whether such time was compensable under California state law. (See Master File No. 3:14-

md-02504, Doc. 96.)

       As a result of the Busk decision, nearly all of the multi-district litigation cases were resolved,

as the security search time was not compensable under FLSA. A few cases remained pending,

under various state law claims, including this case. The discovery and motion stay remained in place

for the multi-district litigation. This case was not pleaded as a FLSA case but was instead premised

upon California Labor Code violations far distinct and more employee-protective than the FLSA.

Plaintiffs therefore moved for remand.

       While awaiting the remand decision, the SMX parties participated in mediation in June,

2015, and eventually reached a settlement agreement as a result of that mediation. Remand was

denied on July 27, 2015 [Dkt. 136]. The SMX parties, including defendant SMX and the SMX

Plaintiffs, moved for preliminary approval of the settlement on November 3, 2015 [Dkt. 148]. The

case remained stayed. In view of the stay, the parties began discussing informal discovery needs.

       The Court granted preliminary approval to the SMX settlement on May 4, 2016. Before the

discovery stay had been lifted, Defendants filed for summary judgment as to the remaining

Amazon/Golden State FC parties on June 7, 2016 [Dkt. 202]. In Plaintiffs’ opposition to the motion

for summary judgment, Plaintiffs argued that recent pending California state and federal cases

                                                   5
Case 3:14-cv-00290-DJH Document 90-1 Filed 04/30/20 Page 6 of 25 PageID #: 1502


regarding compensable security searches would be dispositive; specifically Troester v. Starbucks

Corp., and Frlekin v. Apple, Inc. In Troester, California employees contended that post-shift off-the-

clock activities were not de minimis and should be compensable. In Frlekin, California employees

contended that post-shift bag searches in security screening should be compensable. Both of these

cases were in California district courts, and in both cases, the Ninth Circuit certified the question to

the California Supreme Court.

        The Court granted final approval to the SMX settlement on October 31, 2016 [Dkt. 228].

The gross settlement value for the SMX parties was $3,773,002.50. The remaining parties are Ms.

Robertson for plaintiff, and Amazon.com, LLC, and Amazon.com Services LLC (into which Golden

State FC, LLC merged effective January 1, 2019) (the “Amazon Defendants”).

        The Court in this matter granted summary judgment in favor of the Amazon parties on June

20, 2017 [Dkt. 238]. Plaintiff timely appealed the matter. Plaintiff moved for a stay of the appeal

while the Starbucks and Apple cases moved from the Ninth Circuit to the California Supreme Court;

these motions were denied sub silencio, as the matter was fully briefed to the Sixth Circuit. Plaintiff

argued the matter to the Sixth United States Court of Appeals on June 14, 2018 and renewed her

motion to have the matter stayed while the California Supreme Court considered the questions of

compensability of security searches and the de minimis doctrine in California.

        In a July 26, 2018 opinion, the California Supreme Court held in Troester v. Starbucks Corp.,

5 Cal.5th 829 (2018), that California wage and hour statutes did not recognize the de minimis

doctrine embraced by FLSA, and that post-shift off-the-clock activities were compensable under

California wage and hour laws. 5 Cal.5th at 835. Plaintiff supplemented the appellate record with

this authority.

        In its February 13, 2020 opinion in Frlekin v. Apple, Inc., the California Supreme Court held

that post-shift security searches were compensable time, even if the items brought to be searched

were “optional:” “Is time spent on the employer’s premises waiting for, and undergoing, required

exit searches of packages, bags, or personal technology devices voluntarily brought to work purely

for personal convenience by employees compensable as “hours worked” within the meaning of

Wage Order 7-2001. For the reasons that follow, we conclude the answer to the certified question is,

yes.” 8 Cal.5th 1038, 1042 (2020).

                                                   6
Case 3:14-cv-00290-DJH Document 90-1 Filed 04/30/20 Page 7 of 25 PageID #: 1503


        The Sixth Circuit United States Court of Appeals has not issued its decision in this appeal

and the parties have submitted supplemental briefing regarding their respective positions regarding

the impact, or lack thereof, of the Frlekin decision on this case.                 Thereafter, the parties

communicated to determine whether the parties could settle this matter at this time. The parties have

now reached a preliminary settlement agreement providing certain, substantial benefit to hundreds of

thousands of Amazon employees at this time—including an overlapping group pursuing several

identical claims in a consolidated action filed in July 2017, which is now pending in the U.S. District

Court for the Eastern District of California, captioned Trevino v. Golden State FC LLC, Nos. 18-cv-

00120-DAD (BAM), 18-cv-00121, 18-cv-00567, 18-cv-01176, and 18-cv-17-01300 — without

prolonging the uncertainty of the result of the appeal. Both parties continue to believe in the merits
of their positions, but believe it is in the best interests of the parties in providing an end to this costly,

time-consuming litigation on this issue.

III.    THE PROPOSED SETTLEMENT

        The parties informally exchanged voluminous documentation during the past six full years

regarding the merits of the case, motion practice, appellate practice, membership in the class,

number of shifts, policies and procedures at the respective fulfillment centers, as well as obtaining

the deposition of Ms. Robertson. The information gathered provides support for finding that the

proposed settlement is fair, adequate, and reasonable. The parties reached agreement on a

preliminary settlement on April 28, 2020. A copy of the Joint Stipulation of Class Action Settlement

and Release Agreement (“Settlement Agreement”) is attached as Exhibit A to the Thierman

Declaration.

        A.      The Settlement Class

        The proposed Settlement Class is defined as:

        All non-exempt employees employed by Amazon in California who worked at an
        Amazon.com warehouse facility (fulfillment centers and sortation centers) (“Covered
        Facilities”) from October 1, 2012 until the date that the preliminary approval of the
        proposed settlement is ordered (“Class Members”).

        There are two sub-classes:
                1.       Pre-May 2013 Subclass. For purposes of the settlement of the Lawsuit, the
Pre-May 2013 Subclass is defined as:


                                                      7
Case 3:14-cv-00290-DJH Document 90-1 Filed 04/30/20 Page 8 of 25 PageID #: 1504

       Those Class Members who were employed by Amazon in California and who
       worked at an Amazon.com Covered Facility from October 1, 2012 through April 30,
       2013.
               2.      Post-May 2013 Subclass. For purposes of the settlement of the Lawsuit, the
Post-May 2013 Subclass is defined as:

       Those Class Members who were employed by Amazon in California and who
       worked at an Amazon.com Covered Facility from May 1, 2013 until the date that the
       preliminary approval of the proposed settlement is ordered.
       The reason for the two subclasses is that beginning on May 1, 2013, Defendants implemented

different policies and procedures which minimize any time spent in post-clock out security

measures, in a significant way.

       Each individual in the Settlement Class shall be referred to as a Settlement Class Member in

the Settlement Agreement. The Settlement Class shall not include individuals who file a timely

request to opt-out pursuant to Paragraph 14 of the Agreement (“Opt-outs”). Those Opt-outs shall not

be held to release any claims for individual relief nor shall they participate in the Settlement. The

Parties agree that Amazon’s records are sufficient to identify all Settlement Class Members.

       B.      The Settlement Funds

       Pursuant to the Agreement, the Parties have agreed that this action be settled and

compromised for the sum of $11,132,134 (“Gross Settlement Fund” or “GSF”), which sum

includes, subject to and contingent upon the approval of this Court, the individual settlement

payments to Class Members who do not opt out of the Settlement, Class Counsel’s attorneys’ fees

and costs to Class Counsel, enhancement payment to plaintiff Robertson, payment to the Settlement

Administrator, and a payment to the California Labor Workforce and Development Agency

(“LWDA”) for PAGA penalties. Agreement § 4. The remainder of the GSF will be defined as the

“Class Payment Amount,” which is estimated to amount to $7,158,530.

       Subject to Court approval, Class Representative Robertson shall be paid ten thousand dollars

($10,000) within thirty (30) days of the Effective Date of the Settlement Agreement as an

enhancement payment. The Settlement Administrator shall pay each Pre-May 2013 Subclass

Member who does not timely opt-out of the Settlement, twenty dollars ($20) per shift during the time

period October 1, 2012 through April 30, 2013. The number of shifts each participating Pre-May

2013 Subclass Member worked shall be determined by reference to Defendants’ records. The


                                                 8
Case 3:14-cv-00290-DJH Document 90-1 Filed 04/30/20 Page 9 of 25 PageID #: 1505


Settlement Administrator shall make the payments to the Pre-May 2013 Subclass Members within

thirty (30) days of the Effective Date of this Settlement Agreement.

         The Settlement Administrator shall pay to each Post-May 2013 Subclass Member who does

not timely opt-out of the Settlement an amount equal to the Remaining Class Payment Amount

divided by the total number of Post-May 2013 Subclass Members who do not timely opt-out of the

Settlement (which amount the Parties estimate to be approximately $30 per Post-May 2013 Subclass

Member based on the estimated Subclass size as of the date of this Settlement Agreement is filed,

subject to adjustment for reasonable Settlement Administrator fees). The Settlement Administrator

shall make the payments to the Post-May 2013 Subclass Members within thirty (30) days of the

Effective Date of this Settlement Agreement.

         Out of the Gross Settlement Fund, Defendants shall pay $250,000 to the California Labor &

Workforce Development Agency to resolve and settle claims for penalties under the California

Private Attorneys General Act (“PAGA”), Cal. Lab. Code § 2698 et seq. This represents 75% of the

total amount of $333,333.33 that Defendants will pay out of the Gross Settlement to resolve and

settle claims for PAGA penalties. The remaining 25% ($83,333.33) is part of the Class Payment

Amount that will be distributed to each Settlement Class Member as part of the payments described

above.

         The payment made to each Settlement Class Member shall be allocated one third to wages,

one third to penalties, including PAGA penalties, and one third to interest.

         Defendants will not oppose, and Class Counsel agrees that it will not seek more than,

attorneys’ fees amounting to $3,673,604 and costs not to exceed $25,000, to be paid from the Gross

Settlement Fund. Defendants shall pay the attorneys’ fees and costs within thirty (30) days of the

Effective Date of this Settlement Agreement or within thirty (30) days of the Court’s order

establishing the attorneys’ fees and costs to be paid, whichever comes later and pursuant to any

instructions or limitations set forth in the Court’s order.

         C.     The Release

         Under the language of the Agreement, the Class Representative and the Settlement Class

Members and their successors in interest (the “Releasors”), fully release and discharge Defendants

and any and all of their parent, subsidiary, predecessor, successor, and affiliated entities or related

                                                   9
Case 3:14-cv-00290-DJH Document 90-1 Filed 04/30/20 Page 10 of 25 PageID #: 1506


 entities (including but not limited to Amazon.com Inc.), current and former directors, officers and

 employees (the “Releasees”) from any and all claims, whether known or unknown, and including

 those overlapping claims4 asserted in the consolidated actions captioned Trevino v. Golden State FC

 LLC, Nos. 18-cv-00120-DAD (BAM), 18-cv-00121, 18-cv-00567, 18-cv-01176, and 18-cv-17-

 01300, currently pending in the U.S. District Court for the Eastern District of California, for: (1)

 Failure to Pay Hourly Wages (including any claim brought under any theory of recovery, or seeking

 any form of relief, that was or could have been alleged in this action, including under Lab. Code §§

 200-204, 206, 210, 212, 223, 510-11, 558, 1194, 1194.2, 1197, 1197.1, 1198, 1199; any IWC Wage

 Order); (2) Failure to Pay Overtime Wages (including any claim brought under any theory of

 recovery, or seeking any form of relief, that was or could have been alleged in this action, including

 under Lab. Code §§ 200-204, 206, 212, 510-11, 558, 1194, 1197.1, 1198, 1199 any IWC Wage

 Order); (3) Failure to Provide Meal Periods or Compensation in Lieu Thereof (including any claim

 brought under any theory of recovery, or seeking any form of relief, that was or could have been

 alleged in this action, including under Lab. Code §§ 200, 220, 226.7, 512, 558, 1197.1, 1198, 1199,

 any IWC Wage Order, Cal. Code Regs., Title 8 §§ 11010 through 11170); (4) Failure to Provide

 Rest Periods or Compensation in Lieu Thereof (including any claim brought under any theory of

 recovery, or seeking any form of relief, that was or could have been alleged in this action, including

 under Lab. Code §§ 200, 220, 226.7, 512, 558, 1197.1, 1198, 1199; any IWC Wage Order, Cal.

 Code Regs., Title 8 §§ 11010 through 11170; (5) Failure to Timely Pay Wages of Terminated or

 Resigned Employees (including any claim brought under any theory of recovery, or seeking any

 form of relief, that was or could have been alleged in this action, including under Lab. Code, §§ 201-

 204, 210, 227.3, 558, 1197.1, 1199); (6) Failure to Comply with Lab. Code, § 226 or § 1174

 (including any and all claims for penalties associated therewith, brought under any theory of

 recovery, or seeking any form of relief, including pursuant to Labor Code § 226.3 or § 1174.5); (7)

 Violations of the Unfair Competition Law (including any claim brought under any theory of


          4         The claims overlapping between this action and the Trevino litigation include the following: (1)
 Failure to Pay Wages for All Hours Worked, Including Overtime, Lab. Code §§ 510–511 (predicated on Plaintiffs’
 security screening claims); (2) Failure to Provide Lawful Meal Periods, IWC Wage Order, Lab. Code §§ 226.7, 512
 (predicated on Plaintiffs’ security screening claims); (3) Failure to Provide Rest Periods, IWC Wage Order, Lab.
 Code §226.7 (predicated on Plaintiffs’ security screening claims); (4) Wage Statement Violations, Lab. Code §226;
 and (5) Failure to Timely Pay Wages Due At Termination, Lab. Code §203 (predicated on Plaintiffs’ security
 screening claims).
                                                         10
Case 3:14-cv-00290-DJH Document 90-1 Filed 04/30/20 Page 11 of 25 PageID #: 1507


 recovery, or seeking any form of relief, that was or could have been alleged in this action, including

 under Bus. & Prof. Code § 17200 et seq.); (8) Claims for penalties brought pursuant to PAGA

 (including any claim brought under any theory of recovery, or seeking any form of relief, that was or

 could have been alleged in this action, including under Lab. Code § 2698 et seq.); (9) Violations of

 Lab. Code § 2810.5 (including any claim brought under any theory of recovery, or seeking any form

 of relief, that was or could have been alleged in this action); and (10) Failure to Pay Wages for Work

 Performed Off-the-Clock (including any claim brought under any theory of recovery, or seeking any

 form of relief, that was or could have been alleged in this action); and any other derivative or penalty

 claims, including, but not limited to California Labor Code violations, including any alleged

 recordkeeping violations (such as a claim brought under Labor Code §§ 226, 226.3 or 1174), Wage

 Order violations, common law claims, federal law violations (including violations of the Fair Labor

 Standards Act), and any claims arising under PAGA for work performed as an Amazon employee at

 a Covered Facility in California (“Released Claims”). It is the express intent of the Parties that the

 release in the Agreement applies to any claim against Defendants and their parents, subsidiaries,

 affiliated or related entities for the time period during which Settlement Class Members worked for

 Defendants at Covered Facilities in California. The release applies to claims arising from the

 Releasors’ employment with Defendants in the State of California from October 1, 2012 until the

 date of preliminary approval of this Settlement Agreement.

        The Agreement contains a standard California Civil Code section 1542 waiver: “For the

 purpose of implementing a full and complete release of the claims in Paragraph 6 of this Settlement

 Agreement, Plaintiff and Settlement Class Members expressly acknowledge that the releases given in

 this Settlement Agreement are intended to include, without limitation, claims that Plaintiff or

 Settlement Class Members did not know or suspect to exist in their favor at the time of the effective

 date of this Settlement Agreement, regardless of whether the knowledge of such claims, or the facts

 upon which they might be based, would materially have affected the settlement of this matter; and

 that the consideration given under this Settlement Agreement was also for the release of those claims

 and contemplates the extinguishment of any such unknown claims, despite the fact that California

 Civil Code section 1542 may provide otherwise. Limited to the scope of the claims released in

 Paragraph 6 of this Settlement Agreement, Plaintiff and Settlement Class Members who do not timely

                                                   11
Case 3:14-cv-00290-DJH Document 90-1 Filed 04/30/20 Page 12 of 25 PageID #: 1508


 opt out expressly waive any right or benefit available to them in any capacity under the provisions of

 California Civil Code section 1542, which provides as follows:
                A general release does not extend to claims that the creditor or
                releasing party does not know or suspect to exist in his or her favor at
                the time of executing the release and that, if known by him or her,
                would have materially affected his or her settlement with the debtor or
                released party.
        D.      Notice of Class Action Settlement

        Following preliminary approval, the Defendants will forward the Class Data List to the

 Administrator for preparing the Notice Packet to be mailed to the Class to inform them of the

 Settlement. See Agreement § 10. The Notice Packet will include the Notice of Class Action

 Settlement (Exhibit A to the Agreement), and a Request for Exclusion Form (Exhibit B to the

 Agreement). Agreement, ¶ 10. The Notice will advise the Class of their rights (1) to participate and

 to receive their share of the Settlement, (2) to object to the Settlement, and to appear at the Final

 Fairness Hearing, (3) to request exclusion from the Settlement, and (4) the manner and timing of

 each of these options. See Exhibit A to the Agreement. The Notice will also inform the Class of the

 claims to be released. Id. at § E(2).

        There is no claims procedure. This is a direct-pay, no-reversion settlement, with immediate

 benefits to the Class.

IV.     THE COURT SHOULD PRELIMINARILY APPROVE THE CLASS ACTION

        SETTLEMENT AND SET A FINAL FAIRNESS HEARING DATE

        A class action may not be dismissed, compromised, or settled without the approval of the

 Court. FRCP 23(e). The decision to approve or reject a proposed settlement is committed to the

 Court’s sound discretion. Granada Inv., Inc. v. DWG Corp., 962 F.2d 1203, 1205-06 (6th Cir. 1992);

 Dunleavy v. Nadler, 213 F.3d 454, 458 (9th Cir. 2000) (citing Linney v. Cellular Alaska Partnership,

 151 F.3d 1234, 1238 (9th Cir. 1998)). The Rule 23(e) settlement approval procedure includes three

 distinct steps: (1) preliminary approval of the proposed settlement; (2) dissemination of a notice of

 the settlement to all affected class members; and (3) a formal fairness hearing at which class

 members may be heard regarding the settlement, and at which counsel may introduce evidence and

 present argument concerning the fairness, adequacy, and reasonableness of the settlement. See In re

 Inter-Op Hip Prosthesis Liab. Litig., 204 F.R.D. 330, 338 (N.D. Ohio 2001); Murillo v. Pac. Gas &

                                                  12
Case 3:14-cv-00290-DJH Document 90-1 Filed 04/30/20 Page 13 of 25 PageID #: 1509


 Elec. Co., 266 F.R.D. 468, 473 (E.D. Cal. 2010). This procedure safeguards class members’ due

 process rights and enables the Court to fulfill its role as the guardian of class interests. See Alba

 Conte & Herbert Newberg, 4 Newberg on Class Actions (2002) (“Newberg”), §§ 11.22, et seq.

         By way of this motion, Plaintiff requests that the Court take the first step in the Settlement

 process and preliminarily approve the proposed Settlement. The purpose of the Court’s preliminary

 evaluation of the proposed Settlement is to determine whether it is within the “range of

 reasonableness,” and thus whether notice to the Class and a formal fairness hearing are appropriate.

 See Newberg § 11.25. The Manual for Complex Litigation (Fourth) (2004) (“Manual”) characterizes

 the preliminary approval state as an “initial evaluation” of the fairness of the proposed settlement

 made by the Court on the basis of written submissions and informal presentation from the settlement

 parties. Manual § 21.632.

         Courts must give “proper deference” to settlement agreements, because “the court’s intrusion

 upon what is otherwise a private consensual agreement negotiated between the parties to a lawsuit

 must be limited to the extent necessary to reach a reasoned judgment that the agreement is not the

 product of fraud or overreaching by, or collusion between the negotiating parties, and the settlement,

 taken as a whole, is fair, reasonable and adequate to all concerned.” Vasalle v. Midland Funding,

 LLC, 2014 WL 5162380, at *7 (N.D. Ohio, Oct. 14, 2014), citing Officers for Justice v. Civil Serv.

 Comm'n of City & Cnty. of San Francisco, 688 F.2d 615, 625 (9th Cir. 1982). As the Sixth Circuit

 has held: “Our task is not to decide whether one side is right or even whether one side has the better

 of these arguments. Otherwise, we would be compelled to defeat the purpose of a settlement in order

 to approve a settlement. The question rather is whether the parties are using settlement to resolve a

 legitimate legal and factual disagreement.” UAW v. General Motors Corp., 497 F.3d 615, 632 (6th

 Cir. 2007).

         The Court’s determination of whether a proposed settlement is fair, adequate, and reasonable

 is often said to require a balancing of several factors, such as: “(1) the risk of fraud or collusion; (2)

 the complexity, expense and likely duration of the litigation; (3) the amount of discovery engaged in

 by the parties; (4) the likelihood of success on the merits; (5) the opinions of class counsel and class

 representatives; (6) the reaction of absent class members; and (7) the public interest.” UAW, 497



                                                    13
Case 3:14-cv-00290-DJH Document 90-1 Filed 04/30/20 Page 14 of 25 PageID #: 1510


 F.3d at 631; see also Granada Invs., Inc., supra, 962 F.2d at 1205; Williams v. Vukovich, 720 F.2d

 909, 922–23 (6th Cir.1983).

         “This list is not exclusive and different factors may predominate in different factual

 contexts.” Torrisi v. Tucson Elec. Power Co., 8 F.3d 1370, 1375 (9th Cir. 1993) (citation omitted).

 The law favors settlement, particularly in class actions and other complex cases where substantial

 resources can be conserved by avoiding the time, cost, and rigors of formal litigation. See UAW,

 supra, 497 F.3d at 632 (noting “the federal policy favoring settlement of class actions”); Steiner v.

 Fruehauf Corp., 121 F.R.D. 304, 305 (E.D. Mich. 1988) aff'd sub nom. Priddy v. Edelman, 883 F.2d

 438 (6th Cir. 1989) (same); Class Plaintiffs v. City of Seattle, 955 F.2d 1268, 1275 (9th Cir. 1992).

         A.      Strength of Plaintiffs’ Case and the Risk, Expense, Complexity and Likely

                 Duration of Further Litigation

         The court weighs the likelihood of success on the merits in considering whether the

 settlement is fair, reasonable, and adequate. In re Gen. Tire & Rubber Co. Sec. Litig., 726 F.2d 1075,

 1086 (6th Cir.1984). The Court also considers the risks, expense, and delay of further litigation, and
 weighs them against the recovery provided by the settlement. Dick v. Sprint Commc'ns Co. L.P., 297

 F.R.D. 283, 295 (W.D. Ky. 2014).

         Here, while Plaintiff believes in the merits of her case, she also recognizes the inherent risks

 and uncertainty of litigation and understand the benefits of providing a significant settlement sum

 now, as opposed to risking an appellate decision affirming the Court’s decision granting summary

 judgment in favor of Defendants. Given the general statistic of only 9% of all appeals resulting in

 reversal, this risk to Plaintiff is very great. See, https://www.uscourts.gov/news/2016/12/20/just-

 facts-us-courts-appeals. Thierman Decl., ¶ 58. Plaintiff’s claims involve complex and disputed legal

 issues and fact-specific arguments that the Parties have litigated fiercely since inception of the action

 in December 2013. Id., ¶¶ 55-57. Plaintiff believes that the differences between California law and

 FLSA cases tips the balance in favor of Plaintiff’s position, and that the recent California Supreme

 Court decisions in Starbucks and Apple buttress Plaintiff’s position; however, Plaintiff cannot count

 on an appellate panel agreeing with her position.

         Defendants also have strong defenses to liability. Id. This is evident from the Court’s ruling

 on summary judgment in favor of Defendants in this matter already. In addition, Defendants have

                                                    14
Case 3:14-cv-00290-DJH Document 90-1 Filed 04/30/20 Page 15 of 25 PageID #: 1511


 remained steadfast in their defense of this matter on appeal, including that the Frlekin decision,

 which involved retail store employees waiting for bag checks, is dispositively distinguishable from

 the facts of this case.

         Even were Plaintiff to prevail on appeal, upon remand, Plaintiff would face significant

 hurdles with respect to obtaining class certification when the case would proceed to the certification

 stage. This is evident in the Court’s ruling on other motions for class certification filed in the multi-

 district litigation regarding security screenings. Defendants assert that obstacles faced by Plaintiff in

 seeking certification and maintaining that certification are all the greater given the United States

 Supreme Court’s rulings in Dukes v. Wal-Mart, Inc, 131 S. Ct. 2541 (2011), and Comcast Corp. v.

 Behrend, 133 S. Ct. 1426 (2013). As a result of Dukes and Comcast, along with many other cases,

 Defendants believe that Plaintiff will not be able to obtain certification outside of the Settlement

 context. Thierman Decl. ¶ 37. Defendants further contend Dukes explicitly disapproved the use of

 sampling and surveys to determine class-wide practices, and Comcast overturned a certification

 ruling based on the named representative’s failure to identify a reliable damages model that could be

 used on a class-wide basis. Id.; Dukes, 131 S. Ct. at 2561; Comcast,133 S. Ct. at 1432-33. Thus,

 while Plaintiff believes and continues to believe that even if she could prevail on the merits of the

 claims (if the appeal results in a reversal), whether or not this case is suitable for Rule 23

 certification presents a new formidable hurdle. Similarly, while Defendants believe Plaintiff will

 face several steep hurdles going forward should this matter not resolve, they are also mindful that

 there are risks and significant expenses associated with proceeding further in the case.

         B.      The Extent of Discovery and Stage of the Proceedings Support the Settlement

         The proposed Settlement is the product of substantial effort by the Parties as previously

 described above. Thierman Decl., ¶ 55. Plaintiff’s investigation of the facts and claims was

 significant.

         Indeed, Plaintiff’s counsel has been counsel of record in many cases across the country

 against Amazon.com fulfillment centers since 2010. During this litigation, Plaintiff’s counsel

 litigated the Busk case up to the United State Supreme Court. Id.

         In addition, Plaintiff’s counsel spoke to numerous workers at Amazon.com fulfillment

 centers in California who explained the working conditions at those facilities, the location of the

                                                    15
Case 3:14-cv-00290-DJH Document 90-1 Filed 04/30/20 Page 16 of 25 PageID #: 1512


 security checks, the process by which employees were required to undergo security screenings, and

 the changes that occurred after the in the Spring of 2013. Id., ¶ 15. Defendant also provided Plaintiff

 with significant information regarding the screening process at the facilities in California. Id.

 Defendants also provided Plaintiff with critical data regarding the number of putative class members

 who were employed by Defendants over the course of the Class Period, the average rate of pay for

 these class members, the total number of former employees, and the total number of employees who

 had worked within one year of the filing of Plaintiffs’ lawsuit, so that Plaintiff could accurately

 assess Defendants’ potential exposure. Id.

        The Parties have thoroughly investigated and evaluated the factual strengths and weaknesses

 of this case and engaged in sufficient investigation and discovery reflected above to support the

 Settlement. Thierman Decl., ¶¶ 55-57. Thus, the Settlement before this Court came only after the

 case was fully investigated by Counsel. This litigation, therefore, has reached the stage where the

 Parties have a clear view of the strengths and weaknesses of their cases sufficient to support the

 Settlement. Leonhardt v. ArvinMeritor, Inc., 581 F.Supp.2d 818, 837-38 (E.D. Mich. 2008); Boyd v.

 Bechtel Corp., 485 F. Supp. 610, 622 (N.D. Cal. 1979); see also Thierman Decl., ¶¶ 55-57.

        C.         The Settlement is the Product of Serious, Informed and Non-Collusive

                   Negotiations and Is a Reasonable Compromise of Claims

        “Courts presume the absence of fraud or collusion in class action settlements unless there is

 evidence to the contrary.” Leonhardt, supra, 581 F.Supp.2d at 838. Here, the Settlement was reached

 as a result of informed discovery on related multi-district litigation cases (including Busk), informal

 exchange of information, deposition of Plaintiff, exchange of information with respect to the SMX

 settlement, and extensive motion and appellate procedure. Thierman Decl., ¶¶ 25-37. Following

 agreement to a settlement in concept, the Parties have worked diligently and in earnest to reach

 agreement on all terms of the proposed Settlement. Thierman Decl., ¶¶ 40-46. Though cordial and

 professional, the settlement negotiations have been, at all times, adversarial and non-collusive in

 nature. Id. Continued good faith, but occasionally contentious, negotiations were required to reach

 agreement on all terms set forth in the Agreement presented here for preliminary approval. This is

 evident from the motions for summary judgment and resulting appeals. The compromise reached is

 reasonable. Id.

                                                   16
Case 3:14-cv-00290-DJH Document 90-1 Filed 04/30/20 Page 17 of 25 PageID #: 1513


         Plaintiff alleged that it took employees approximately 20-30 minutes to pass through the anti-

 theft screening process at the end of the workday. See Dkt. 61 ¶ 1. In addition, Plaintiff asserted that

 she was denied a full 30-minute uninterrupted meal period that is required under California law

 because she was required to pass through the anti-theft screening prior to being able to take her meal

 period. See Dkt. 61.The average hourly rate of employees who worked for Defendant was

 approximately $10.00 an hour. See Dkt. 61 ¶ 10 -. Based on Plaintiff’s allegations, the total exposure

 per employee per shift for unpaid overtime and a meal and rest break violation was approximately

 $17.50, not including other penalties allowable under the law for failure to provide accurate itemized

 wage statements, waiting time penalties for former employees, and PAGA penalties.5 Plaintiff

 ultimately achieved a settlement in the amount of $20.00 per shift for the Pre-May Subclass—that’s

 $2.50 more per shift than Plaintiff’s and the Class’ hard damages. Plaintiff compromised the claims

 on the Post-May Subclass to a flat $30.00 per employee amount because of the Supreme Court’s

 ruling in Busk, and facts developed indicating that there was little or no waiting in any lines after the

 Ninth Circuit’s ruling in Busk, due in part to rescheduling and staggering shifts to substantially

 reduce any time spent in screening. Furthermore, there is no conflict between the two subclasses

 because each subclass benefits independently from the other and individuals can be members of both

 classes.

         Defendants hotly disputed Plaintiff’s claims and allegations that it took her (and the class)

 approximately 30 minutes to pass through the screening at the end of the workday. Defendants’

 similarly contest that Plaintiff did not receive a full 30-minute uninterrupted meal period. Defendants

 contend that the time spent by employees going through security was less than 5 minutes (and thus

 de minimis under Defendants’ point of view) or non-existent and note that changes were made post-

 Busk.


         5
          Thirty (30) minutes of uncompensated time at the overtime rate would net approximately
 $7.50 owed. One (1) missed meal period per day would net $10.00 per employee (the penalty for a
 missed meal period is an additional hour’s pay). While Plaintiff would also be entitled to seek
 penalties under California law for these violations, she would have a heightened “willfulness”
 standard to prove waiting time penalties, and PAGA penalties are entirely discretionary. Therefore, a
 $2.50 per shift amount of penalties is entirely reasonable given the uncertainty regarding the
 recovery of such damages. Plaintiffs’ other claims including, for example, rest period violations,
 wage statement violations and failure to pay wages due at termination are similarly uncertain and
 reasonably included within the compromise amount.
                                                 17
Case 3:14-cv-00290-DJH Document 90-1 Filed 04/30/20 Page 18 of 25 PageID #: 1514


        Due to the differing factual conditions pre-May, 2013 and post-May, 2013, it represents a fair

 compromise to compensate the pre-May 2013 class on a per-shift basis, and the post-May, 2013

 class on a flat compensation rate, given the assumptions, evidence, and compromise. In fact, this

 tiered remuneration formula was proposed by the mediator for the SMX case, which was already

 approved by the Court in October 2016.

        D.      Class Counsel Is Experienced in Similar Litigation

        Plaintiff’s counsel, Thierman Buck, LLP, The Markham Law Firm, Cohelan, Khoury &

 Singer, Hamner Law Offices, APC, and the United Employees Law Group, PC, have had significant

 experience in litigating misclassification, overtime, expense reimbursement, and rest/meal period

 cases, and other wage and hour class cases and have obtained certification in these types of cases and

 have been appointed Class Counsel or Co-Class Counsel in dozens of cases as reflected in the

 Declarations of Mark R. Thierman, Joshua Buck, Isam C. Khoury, David R. Markham submitted

 with this Motion.6

        Defendants’ counsel, including Richard Rosenblatt and Joseph Nuccio of Morgan Lewis &

 Bockius, also are experienced in wage and hour employment law and class actions. Buck Decl., ¶ Ex

 A. Experienced counsel, operating at arms’-length, have weighed the strengths of the case and

 examined all of the issues and risks of litigation and endorse the proposed Settlement as fair,

 reasonable and adequate for the class. Buck Decl., ¶6; Markham Decl., ¶ 10. The view of the

 attorneys actively conducting the litigation is entitled to significant weight in deciding whether to

 approve the settlement. Dick v. Sprint, supra, 297 F.R.D. at 297 (“The Court defers to the judgment

 of the experienced counsel associated with the case, who have assessed the relative risks and benefits

 of litigation”); see also Ellis v. Naval Air Rework Facility (N.D. Cal. 1980) 87 F.R.D. 15, 18, aff’d

 661 F.2d 939 (9th Cir. 1981).

        Class Counsel having prosecuted numerous cases on behalf of employees for California

 Labor Code violations are experienced and qualified to evaluate the Class claims, settlement versus

 trial on a fully informed basis, and the viability of the defenses. Thierman Decl., ¶ 5. Counsel on

 both sides share the view that this is a fair and reasonable settlement in light of the complexities of


        6
           Plaintiffs’ counsel have agreed that Thierman Buck LLP will serve as Lead Class counsel in
 this action.
                                                    18
Case 3:14-cv-00290-DJH Document 90-1 Filed 04/30/20 Page 19 of 25 PageID #: 1515


 the case, the state of the law, and of the uncertainties of certification and litigation. See Settlement

 Agreement at ¶¶ L-M. The opinion of counsel in support of the proposed Settlement is based on a

 realistic assessment of the strengths and weaknesses of their respective cases, extensive legal and

 factual research, as well as the substantial discovery detailed above. Id. The opinion of counsel is

 also based on an assessment of the risks of proceeding with the litigation through trial and, if a

 verdict were recovered, through appeal as compared to the certain value of a settlement at this time.

 Id. Given the risks inherent in litigation and the defenses asserted, this Settlement is fair, adequate,

 and reasonable and in the best interests of the class and should be preliminarily approved. Id.

 V.     CLASS COUNSELS’ ATTORNEYS’ FEES REQUEST AND CLASS

        REPRESENTATIVE ENHANCEMENT PAYMENT

        A.      Motion for Award of Attorneys’ Fees and Litigation Costs

        “When awarding attorney’s fees in a class action, a court must make sure that counsel is

 fairly compensated for the amount of work done as well as for the results achieved.” Rawlings v.

 Prudential-Bache Properties, Inc., 9 F.3d 513, 516 (6th Cir. 1993).

        Class Counsels’ attorneys’ fees and costs will be paid from the GSF. Class Counsel will file,

 concurrently with the motion for order granting final approval, a motion requesting an award of

 Attorney’s Fees in the sum of up to $3,673,604 and reimbursement of their litigation costs of up to

 $25,000. See Agreement, § 5. The fees to be requested represent under 33% of the GSF. This figure

 should be balanced against the companion SMX settlement in this same case, in which the same

 Class Counsel agreed to take under 21% of the GSF. At this time, Class Counsel has litigated not

 just a motion for summary judgment, but also a fully executed appeal awaiting decision, with a

 more than six-year outlay of costs and resources. The preparation of the appeal, together with

 augmenting the appellate records as California Supreme Court cases continued to influence the

 projected outcome of this case, support this fee request, which percentage is routinely supported by

 both Sixth and Ninth Circuit case law.

        In Swigert v. Fifth Third Bank, 2014 U.S.Dist. LEXIS 94450 (S.D.Ohio July 11, 2014), the

 court applied the factors set forth in Ramey v. Cincinnati Enquirer, Inc., 508 F.2d 1188 (6th Cir.

 1974), to approve a 33% fee award in a wage and hour class action settlement:



                                                   19
Case 3:14-cv-00290-DJH Document 90-1 Filed 04/30/20 Page 20 of 25 PageID #: 1516

        Society's stake in rewarding attorneys who bring class action wage and hour cases
        favors the requested award. Gentrup v. Renovo Servs., LLC, No. 1:07-cv430, 2011
        U.S. Dist. LEXIS 67887, 2011 WL 2532922, at *4 (S.D. Ohio, June 24, 2011) . . . 3.
        The Services Rendered Were on a Contingent Fee Basis Despite the risks associated
        with prosecuting this case, including issues related to certification, Defendant's
        multiple defenses, the extent to which MLOs actually worked overtime hours, and
        willfulness, Class Counsel took this case solely on a contingency fee basis and were
        prepared to make this investment with the very real possibility of an unsuccessful
        outcome and no fee of any kind. Further, Class Counsel have not been compensated
        for any time or expense since the litigation began in 2011, consistent with the fee
        agreement entered into between Plaintiffs and class counsel. . . . 5. Complexity of the
        Litigation Wage-and-hour collective and class actions are, by their very nature,
        complicated and time-consuming. See Beckman v. KeyBank, N.A., 293 F.R.D. 467,
        479-80 (S.D.N.Y. 2013). This is particularly true here, where Plaintiffs alleged
        overtime claims under the FLSA, and under the state laws of Ohio. Resolving the
        procedural issues, the merits, and damages would have been risky, costly, and time
        consuming. 6. The Professional Skill and Standing of Counsel The professional skill
        and standing of counsel on both sides is substantial. . . . The lawyers representing
        Defendant have extensive experience in this area as well. Accordingly, this factor
        supports approval of the requested fee award. C. Comparison to Attorneys' Fees in
        Similar Cases An award of 33% of the total settlement fund is well within the range
        of fees requested in class and collective actions in Ohio federal district courts. See,
        e.g., Johnson, 2013 U.S. Dist. LEXIS 74201, 2013 WL 2295880, at *6 (awarding
        attorney fees and expenses to class counsel in an amount of 33% of the settlement
        funds in class action case); Kritzer, 2012 U.S. Dist. LEXIS 74994, 2012 WL
        1945144, at *9-10 (awarding attorney's fees and costs up to $235,000 out of a
        settlement of $455,000 (52% of total recovery) in a hybrid FLSA collective and Ohio
        class action for unpaid overtime)).
 Swigert, at *16-19. Each of the factors enumerated above exist in the present litigation: there is a

 societal interest in having wage and hour class actions prosecuted, this was a complex contingent fee

 case with many defenses and an uncertain outcome, Class Counsel have not been compensated since

 the inception of this case in 2013, wage and hour class actions are complex and time consuming, the

 attorneys for plaintiffs and defendants in this matter have extensive experience in wage and hour

 class actions, and in the Sixth Circuit, a 33% fee award has ample precedent.

          The Ninth Circuit also supports fee awards of 33% for wage and hour class actions.

 Vazquez v. Coast Valley Roofing, 266 F.R.D. 482 (E.D. Cal. 2010)(33.3% fee award of the common

 fund in wage and hour class action); Barbosa v. Cargill Meat Solutions Corp., 297 F.R.D. 431

 (E.D.Cal. 2013)(33.3% of common fund in wage and hour class action).

        B.      Enhancement Payment to Class Representative Robertson

        The Sixth Circuit has noted that enhancement payments are typically awarded to class

 representatives for their extensive involvement with a lawsuit. Hadix v. Johnson, 322 F.3d 895, 897
                                                  20
Case 3:14-cv-00290-DJH Document 90-1 Filed 04/30/20 Page 21 of 25 PageID #: 1517


 (6th Cir. 2003). Awards encourage members of a class to become class representatives and reward

 their efforts taken on behalf of the class. Id. Payment of enhancement payments                to class

 representatives is a reasonable use of settlement funds. Moulton v. U.S. Steel Corp., 581 F.3d 344,

 351 (6th Cir. 2009).

        Likewise in the Ninth Circuit, “named plaintiffs . . . are eligible for reasonable incentive

 payments. The district court must evaluate their awards individually, using ‘relevant factors

 including the actions the plaintiff has taken to protect the interests of the class, the degree to which

 the class had benefitted from those actions, the amount of time and effort the plaintiff in pursuing the

 litigation and reasonable fears of workplace retaliation.’” Staton v. Boeing Corp., 327 F.3d 938, 977

 (9th Cir. 2003) (citations and internal alterations omitted).

        Subject to the Court’s approval at the time of the Final Fairness hearing, Class Counsel will

 request on behalf of Plaintiff Robertson, the reasonable sum of $10,000 for her time, effort, risks

 undertaken for the payment of costs in the event this action had been unsuccessful, the stigma upon

 future employment opportunities for having initiated this action against a former employer, and a

 general release of all claims. See Agreement § 4(a); Thierman Decl., ¶ 53. Plaintiff invested a great

 deal of personal time and effort into the investigation, prosecution, and the settlement of the case, as

 will be set forth in her declaration to be filed concurrently with the final approval motion and motion

 for award of attorneys’ fees, costs, and settlement administration expenses. Id. In addition to

 working with Ms. Robertson in the initial investigation and initiation of her involvement in this

 litigation against an Amazon employer, Ms. Robertson has been involved in the discovery and

 approval process throughout the past nearly six-and-a-half years, including preparation for, and

 traveling to, a full-day deposition – a commitment the SMX plaintiffs was spared. Ms. Robertson’s

 involvement also stretched beyond the involvement of the SMX plaintiffs, as they were compensated

 after final approval in October, 2016. Ms. Robertson continued to be responsive and active in the

 progress of this litigation, even though appeal. Thus, the Class Representative enhancement

 payment of $10,000 is fair and reasonable. See, e.g., Singer v. Becton Dickinson & Co., 2010 U.S.

 Dist. LEXIS 53416, at *24-26 (S.D. Cal. June 1, 2010) (“The $25,000 incentive award is . . . well

 within the acceptable range awarded in similar cases.”) (discussing Brotherton v. Cleveland, 141 F.

 Supp. 2d 907, 913-14 (S.D. Ohio 2001) (approving $50,000 class representative payment to named

                                                   21
Case 3:14-cv-00290-DJH Document 90-1 Filed 04/30/20 Page 22 of 25 PageID #: 1518


 plaintiff); and Van Vranken v. Atlantic Richfield Co., 901 F. Supp. 294, 299 (N.D. Cal. 1995)

 (same)); Glass v. UBS Financial Services, 2007 U.S. Dist. LEXIS 8476, at *50-52 (N.D. Cal. Jan.

 26, 2007) (approving $25,000 class representative payment).

VI.     THE PROPOSED RULE 23 CLASS SHOULD BE CONDITIONALLY

        CERTIFIED FOR SETTLEMENT PURPOSES

        A.      The Proposed California Rule 23 Class Meets the Certification Requirements

                of Rule 23(a) and (b) for Settlement Purposes

        For purposes of the proposed Settlement (and for settlement purposes only), the Parties

 request that the Court provisionally certify the Rule 23 class as defined in the Settlement Agreement:

                All non-exempt employees employed by Amazon in California who worked
                at an Amazon.com warehouse facility (fulfillment centers and sortation
                centers) (“Covered Facilities”) from October 1, 2012 until the date that the
                preliminary approval of the proposed settlement is ordered (“Class
                Members”).
 Agreement, §3. The Court has the authority to certify a provisional settlement class at the time of

 preliminary approval. See Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 620 (1997). In

 determining whether a class should be certified, the court is bound to take the substantive allegations
 of the complaint as true. See Blackie v. Barrack, 524 F.23d 891, 901 n.17 (9th Cir. 1975). A

 proposed settlement class is still subject to the requirements of FRCP Rule 23(a) and (b) which are

 “designed to protect absentees by blocking unwarranted or overbroad class definitions.” Amchem,

 521 U.S. at 620. However, “[c]onfronted with a request for settlement-only class certification, a

 district court need not inquire whether the case, if tried, would present intractable management
 problems, Fed. Rule Civ. Proc. 23(b)(3)(D), for the proposal is that there be no trial.” Id.

                1.      Rule 23(a)(1) —Numerosity

        There are an estimated 200,000 putative class members. Thierman Decl., ¶ 65. This satisfies

 the Rule 23(a)(1) numerosity element in the settlement context. 5 James Wm. Moore et al., Moore’s

 Federal Practice, § 23.22 (3d ed. 1999).

                2.      Rule 23(a)(2) —Commonality

        The commonality preconditions of Rule 23(a)(2) are “construed permissively.” See Hanlon v.

 Chrysler Corp., 150 F.3d 1011, 1019 (9th Cir. 1998). The presence of simply one common issue

 whose resolution will affect all or significant number of the putative class members suffices to
                                                 22
Case 3:14-cv-00290-DJH Document 90-1 Filed 04/30/20 Page 23 of 25 PageID #: 1519


 satisfy the commonality requirement. “Although Rule 23(a)(2) speaks of “questions” in the plural,

 we have said that there need only be one question common to the class.” Sprague v. Gen. Motors

 Corp., 133 F.3d 388, 397 (6th Cir. 1998). Here, Plaintiff alleges that Defendants implemented and

 applied employment policies and practices to all members of the Class through their employment –

 the security checks were mandatory and were conducted while Class Members were punched out

 and off the clock. See Dkt. 61 at ¶¶ 9-12. Plaintiff contend this time off the clock was compensable.

 Id. For settlement purposes, Plaintiff’s claims meet the minimum burden of establishing

 commonality.

                  3.     Rule 23(a)(3) —Typicality

         Under this Rule’s “permissive standards,” the representative plaintiff’s claims are “typical” if

 they are “reasonably co-extensive with those of absent class members.” Hanlon, 150 F.3d at 1020.

 The typicality requirement is satisfied if Plaintiff’s claims arise from the same events or course of

 conduct that give rise to the claims of other class members and are based on the same legal theory.

 See Taylor v. CSX Transp., Inc., 264 F.R.D. 281, 289 (N.D. Ohio, 2007); Ventura v. New York City

 Health and Hosp., Inc., 125 F.R.D. 595, 600 (S.D.N.Y. 1989). Plaintiff contends that her claims

 arise from a common source—the alleged failure to pay for time worked or under the control of the

 employer. Buck Decl., ¶ --. Furthermore, the claims of Plaintiff and the putative Class are based on

 identical legal theories. Id. Finally, Plaintiff’s interests are aligned with those of the putative Class.

 Id., ¶ 27. Based on the foregoing, the typicality requirement is also satisfied in the settlement

 context.

                  4.     Rule 23(a)(4) —Adequacy of Representation

         This rule requires (1) that the representative plaintiff does not have any conflict of interest

 with the putative class; and (2) that plaintiff is represented by qualified and competent counsel. See

 Senter v. General Motors Corp., 532 F.2d 511, 524-25 (6th Cir. 1976); Hanlon, supra, 150 F.3d at

 1020. In this case, Plaintiff and the putative class members alike seek relief in connection with

 certain policies and practices of Defendants and are thus aligned in interest. Thierman Decl., ¶ 71.

 Plaintiff’s counsel are well-situated to assume the responsibilities of Class Counsel because they are

 experienced employment and class action litigators who are fully qualified to pursue the interests of

 the Class. Id.

                                                    23
Case 3:14-cv-00290-DJH Document 90-1 Filed 04/30/20 Page 24 of 25 PageID #: 1520


                 5.      Rule 23(b)(3) —Predominance and Superiority

          The predominance inquiry focuses on the relationship between the common and individual

 issues, testing whether the proposed classes are sufficiently cohesive to warrant adjudication by

 representation. See Amchem Products, Inc., 521 U.S. at 623; Beattie v. Century Tel, Inc., 511 F.3d

 554, 564 (6th Cir. 2007). Plaintiff claims that several questions of law and fact are common to her

 claims and to those of the putative Class and provide a justification for handling the dispute on a

 representative rather than on an individual basis for settlement purposes. See Settlement Agreement

 ¶ 3. Class treatment is also the superior method for resolving all claims in this case because a class

 action would (1) accomplish judicial economy by avoiding multiple suits, and (2) protect the rights

 of persons who might not be able to present claims on an individual basis. See generally Crown,

 Cork & Seal Co. v. Parker, 462 U.S. 345 (1983); Beattie, supra, 511 F.3d at 566-67. This is true in

 the settlement context because the Court need not consider the manageability (or lack thereof) of a

 trial.

          Thus, Plaintiff contends adjudication (and resolution by virtue of the proposed Settlement) of

 these common issues, which Plaintiff claims represent significant aspects of this case, would serve to

 adjudicate (and resolve) substantially all of the issues affecting the entire Class. Thierman Decl., ¶

 71. Based on the foregoing, Plaintiff respectfully requests the Court conditionally certify the Class

 for settlement purposes.

VII.      CONCLUSION

          Based upon the foregoing, Plaintiff respectfully requests that the Court (1) grant preliminary

 approval of the Class Action Settlement set forth more particularly in the Agreement; (2) certify the

 Class for Settlement purposes only; (3) approve the Notice of Proposed Class Action Settlement; (4)

 appoint Plaintiff Robertson as the Class Representative and preliminarily approve Class



 ///

 ///

 ///




                                                   24
Case 3:14-cv-00290-DJH Document 90-1 Filed 04/30/20 Page 25 of 25 PageID #: 1521




 Representative’s enhancement payment; (5) appoint Thierman Buck LLP as Lead Class Counsel

 and Cohelan Koury & Singer, The Markham Law Firm, Hamner Law Offices APC, and United

 Employees Law Group, P.C. as Class Counsel and preliminary approve Class Counsel’s fees and

 costs; (6) appoint a Settlement Administrator; and (7) set the Final Fairness Hearing.




 Dated: April 30, 2020                 Respectfully submitted,

                                       By: /s/ Mark. R. Thierman

                                       Mark R. Thierman (CA State Bar No. 72913)
                                       Joshua D. Buck (CA State Bar No. 258325)
                                       THIERMAN BUCK LLP
                                       7287 Lakeside Drive
                                       Reno, NV 89511
                                       Telephone: (775)284-1500\ Facsimile: (775)703-5027

                                       Isam C. Khoury (CA State Bar No. 58759)
                                       Diana M. Khoury (CA State Bar No. 128643)
                                       J. Jason Hill (CA State Bar No. 179630)
                                       COHELAN KHOURY & SINGER
                                       605 C Street, Suite 200
                                       San Diego, CA 92101
                                       Telephone: (619) 595-3001\Facsimile: (619) 595-3000

                                       David R. Markham (CA State Bar No. 71814)
                                       Maggie Realin (CA State Bar No. 263639)
                                       THE MARKHAM LAW FIRM
                                       750 B Street, Suite 1950
                                       San Diego, CA 92101
                                       Telephone: (619) 399-3995\Facsimile: (619) 615-2067

                                       Christopher J. Hamner (CA State Bar No. 197117)
                                       HAMNER LAW OFFICES, APC
                                       5023 Parkway Calabasas
                                       Calabasas, CA 91302-1421
                                       Telephone: (818) 876-9631

                                       Walter L. Haines (CA State Bar No. 71075)
                                       UNITED EMPLOYEES LAW GROUP, P.C.
                                       5500 Bolsa Avenue, Suite 201
                                       Huntington Beach, CA 92649
                                       Telephone: (310) 234-5678\Facsimile: (310) 652-2242

                                       Attorneys for Plaintiff Khadijah Robertson



                                                 25
